        Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 1 of 85




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

IN RE GEORGIA SENATE BILL 202                  *
                                               *
                                               *   CIVIL ACTION FILE NO.
                                               *
                                               *   1:21-mi-55555-JPB
                                               *
                                               *
                                               *
SIXTH DISTRICT OF THE AFRICAN                  *
METHODIST EPISCOPAL CHURCH,                    *   CIVIL ACTION FILE NO.
a Georgia nonprofit organization, et al.,      *
                                               *   1:21-cv-01284-JPB
      Plaintiffs,                              *
                                               *
vs.                                            *
                                               *
BRIAN KEMP, Governor of the State              *
of Georgia in his official capacity, et al.,   *
                                               *
      Defendants.                              *

             ANSWER AND RESPONSIVE PLEADINGS OF THE
                 MACON-BIBB COUNTY DEFENDANTS

      COME NOW THE MACON-BIBB COUNTY BOARD OF ELECTIONS;

MIKE KAPLAN, HERBERT SPANGLER, JOEL HAZARD, KAREN EVANS-

DANIEL, and DARIUS MAYNARD, Members of the Macon-Bibb County

Board of Elections, in their official capacities; JEANETTA R. WATSON,

Macon-Bibb County Elections Supervisor, in her official capacity; and

VERONICA SEALS, Macon-Bibb County Chief Registrar, in her official
                                    Page 1 of 85
       Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 2 of 85




capacity, named Defendants in the above styled civil action, and make and file

their Answer and Responsive Pleadings as follows:

           THE PROPER MACON-BIBB COUNTY DEFENDANTS

      These Defendants, as listed in the introductory paragraph above are the

proper Macon-Bibb County Defendants as of today’s date. In their Complaint,

Plaintiffs named the members of the Macon-Bibb County Board of Elections as

they existed at the time of filing. Since the filing of the Complaint, Board

members Rinda Wilson, Henry Ficklin, and Cassandra Powell have been

replaced by new members Joel Hazard, Karen Evans-Daniel, and Darius

Maynard.

      Plaintiffs also named the Bibb County Board of Registrars as a

Defendant, but this entity does not exist. The Macon-Bibb County Board of

Elections succeeded to the rights and duties of the Bibb County Registrars by

local act of the State legislature in 1969. See 1969 Ga. Laws, Pg. 3331, Sec. 8.

      Lastly, Macon-Bibb County Elections Supervisor Jeanetta R. Watson

has resigned effective today, January 21, 2022. No replacement has yet been

named.

      These Defendants have no objection to an Order being entered to update

the parties in accordance with the foregoing.



                                 Page 2 of 85
       Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 3 of 85




                                   ANSWER

      These Defendant hereby answer and respond to the allegations set forth

in the numbered paragraphs of Plaintiffs’ First Amended Complaint, referred

to herein as “Plaintiffs’ Complaint,” as follows:

                               INTRODUCTION

                                        1.

      These Defendants admit the general principles related to the importance

of the right to vote set forth in paragraph 1 of Plaintiffs’ Complaint. Answering

further, these Defendants admit that the holdings and opinions of the United

States Supreme Court speak for themselves.          These Defendants deny the

balance of the allegations set forth in paragraph 1 of Plaintiffs’ Complaint.

                                        2.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 2 of

Plaintiffs’ Complaint.

                                        3.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 3 of

Plaintiffs’ Complaint.



                                  Page 3 of 85
       Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 4 of 85




                                     4.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 4 of

Plaintiffs’ Complaint.

                                     5.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 5 of

Plaintiffs’ Complaint.

                                     6.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 6 of

Plaintiffs’ Complaint.

                                     7.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 7 of

Plaintiffs’ Complaint.

                                     8.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 8 of

Plaintiffs’ Complaint.
                                Page 4 of 85
       Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 5 of 85




                                     9.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 9 of

Plaintiffs’ Complaint.

                                     10.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 10 of

Plaintiffs’ Complaint.

                                     11.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 11 of

Plaintiffs’ Complaint.

                                     12.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 12 of

Plaintiffs’ Complaint.

                                     13.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 13 of

Plaintiffs’ Complaint.
                                Page 5 of 85
       Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 6 of 85




                                      14.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 14 of

Plaintiffs’ Complaint.

                                      15.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 15 of

Plaintiffs’ Complaint.

                                      16.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 16 of

Plaintiffs’ Complaint.

                                      17.

      These Defendants admit that voters in Macon-Bibb County voted in

person on elections day, voted during early voting, voted by mail, and voted

using secure drop boxes.      These Defendants are without knowledge or

information sufficient to form a belief as to the truth of the balance of the

allegations set forth in paragraph 17 of Plaintiffs’ Complaint.

                                      18.

      These Defendants are without knowledge or information sufficient to
                                 Page 6 of 85
       Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 7 of 85




form a belief as to the truth of the allegations set forth in paragraph 18 of

Plaintiffs’ Complaint.

                                     19.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 19 of

Plaintiffs’ Complaint.

                                     20.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 20 of

Plaintiffs’ Complaint.

                                     21.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 21 of

Plaintiffs’ Complaint.

                                     22.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 22 of

Plaintiffs’ Complaint.

                                     23.

      These Defendants are without knowledge or information sufficient to
                                Page 7 of 85
       Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 8 of 85




form a belief as to the truth of the allegations set forth in paragraph 23 of

Plaintiffs’ Complaint.

                                     24.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 24 of

Plaintiffs’ Complaint.

                                     25.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 25 of

Plaintiffs’ Complaint.

                                     26.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 26 of

Plaintiffs’ Complaint.

                                     27.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 27 of

Plaintiffs’ Complaint.

                                     28.

      These Defendants are without knowledge or information sufficient to
                                Page 8 of 85
       Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 9 of 85




form a belief as to the truth of the allegations set forth in paragraph 28 of

Plaintiffs’ Complaint.

                                     29.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 29 of

Plaintiffs’ Complaint.

                                     30.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 30 of

Plaintiffs’ Complaint.

                                     31.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 31 of

Plaintiffs’ Complaint.

                                 PARTIES

                                 Plaintiffs

                                     32.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 32 of

Plaintiffs’ Complaint.
                                Page 9 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 10 of 85




                                     33.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 33 of

Plaintiffs’ Complaint.

                                     34.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 34 of

Plaintiffs’ Complaint.

                                     35.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 35 of

Plaintiffs’ Complaint.

                                     36.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 36 of

Plaintiffs’ Complaint.

                                     37.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 37 of

Plaintiffs’ Complaint.
                               Page 10 of 85
       Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 11 of 85




                                       38.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 38 of

Plaintiffs’ Complaint.

                                       39.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 39 of

Plaintiffs’ Complaint.

                                       40.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 40 of

Plaintiffs’ Complaint.

                                       41.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 41 of

Plaintiffs’ Complaint.

                                       42.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 42 of

Plaintiffs’ Complaint.
                                 Page 11 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 12 of 85




                                     43.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 43 of

Plaintiffs’ Complaint.

                                     44.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 44 of

Plaintiffs’ Complaint.

                                     45.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 45 of

Plaintiffs’ Complaint.

                                     46.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 46 of

Plaintiffs’ Complaint.

                                     47.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 47 of

Plaintiffs’ Complaint.
                               Page 12 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 13 of 85




                                     48.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 48 of

Plaintiffs’ Complaint.

                                     49.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 49 of

Plaintiffs’ Complaint.

                                     50.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 50 of

Plaintiffs’ Complaint.

                                     51.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 51 of

Plaintiffs’ Complaint.

                                     52.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 52 of

Plaintiffs’ Complaint.
                               Page 13 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 14 of 85




                                     53.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 53 of

Plaintiffs’ Complaint.

                                     54.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 54 of

Plaintiffs’ Complaint.

                                     55.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 55 of

Plaintiffs’ Complaint.

                                     56.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 56 of

Plaintiffs’ Complaint.

                                     57.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 57 of

Plaintiffs’ Complaint.
                               Page 14 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 15 of 85




                                     58.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 58 of

Plaintiffs’ Complaint.

                                     59.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 59 of

Plaintiffs’ Complaint.

                                     60.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 60 of

Plaintiffs’ Complaint.

                                     61.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 61 of

Plaintiffs’ Complaint.

                                     62.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 62 of

Plaintiffs’ Complaint.
                               Page 15 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 16 of 85




                                     63.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 63 of

Plaintiffs’ Complaint.

                                     64.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 64 of

Plaintiffs’ Complaint.

                                     65.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 65 of

Plaintiffs’ Complaint.

                                     66.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 66 of

Plaintiffs’ Complaint.

                                     67.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 67 of

Plaintiffs’ Complaint.
                               Page 16 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 17 of 85




                                     68.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 68 of

Plaintiffs’ Complaint.

                                     69.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 69 of

Plaintiffs’ Complaint.

                                     70.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 70 of

Plaintiffs’ Complaint.

                                     71.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 71 of

Plaintiffs’ Complaint.

                                     72.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 72 of

Plaintiffs’ Complaint.
                               Page 17 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 18 of 85




                                     73.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 73 of

Plaintiffs’ Complaint.

                                     74.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 74 of

Plaintiffs’ Complaint.

                                     75.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 75 of

Plaintiffs’ Complaint.

                                     76.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 76 of

Plaintiffs’ Complaint.

                                     77.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 77 of

Plaintiffs’ Complaint.
                               Page 18 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 19 of 85




                                     78.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 78 of

Plaintiffs’ Complaint.

                                     79.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 79 of

Plaintiffs’ Complaint.

                                     80.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 80 of

Plaintiffs’ Complaint.

                                     81.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 81 of

Plaintiffs’ Complaint.

                                     82.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 82 of

Plaintiffs’ Complaint.
                               Page 19 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 20 of 85




                                     83.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 83 of

Plaintiffs’ Complaint.

                                     84.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 84 of

Plaintiffs’ Complaint.

                                     85.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 85 of

Plaintiffs’ Complaint.

                                     86.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 86 of

Plaintiffs’ Complaint.

                                     87.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 87 of

Plaintiffs’ Complaint.
                               Page 20 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 21 of 85




                                     88.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 88 of

Plaintiffs’ Complaint.

                                     89.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 89 of

Plaintiffs’ Complaint.

                                     90.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 90 of

Plaintiffs’ Complaint.

                                     91.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 91 of

Plaintiffs’ Complaint.

                                     92.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 92 of

Plaintiffs’ Complaint.
                               Page 21 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 22 of 85




                                  Defendants

                                      93.

      These Defendants admit the allegations set forth in paragraph 93 of

Plaintiffs’ Complaint.

                                      94.

      These Defendants admit the allegations set forth in paragraph 94 of

Plaintiffs’ Complaint.

                                      95.

      These Defendants admit the allegations set forth in paragraph 95 of

Plaintiffs’ Complaint.

                                      96.

      These Defendants admit the allegations set forth in paragraph 96 of

Plaintiff’s Complaint with the exception of the fact that the composition of the

State Election Board has changed.

                                      97.

      These Defendants admit the allegations set forth in paragraph 97 of

Plaintiffs’ Complaint.

                                      98.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 98 of
                                 Page 22 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 23 of 85




Plaintiffs’ Complaint.

                                     99.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 99 of

Plaintiffs’ Complaint.

                                    100.

      These Defendants admit the allegations set forth in paragraph 100 of

Plaintiffs’ Complaint.

                                    101.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 101 of

Plaintiffs’ Complaint.

                                    102.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 102 of

Plaintiffs’ Complaint.

                                    103.

      These Defendants admit the allegations set forth in paragraph 103 of

Plaintiffs’ Complaint.



                                Page 23 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 24 of 85




                                    104.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 104 of

Plaintiffs’ Complaint.

                                    105.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 105 of

Plaintiffs’ Complaint.

                                    106.

      These Defendants admit the allegations set forth in paragraph 106 of

Plaintiffs’ Complaint.

                                    107.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 107 of

Plaintiffs’ Complaint.

                                    108.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 108 of

Plaintiffs’ Complaint.



                                Page 24 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 25 of 85




                                    109.

      These Defendants admit the allegations set forth in paragraph 109 of

Plaintiffs’ Complaint.

                                    110.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 110 of

Plaintiffs’ Complaint.

                                    111.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 111 of

Plaintiffs’ Complaint.

                                    112.

      These Defendants admit the allegations set forth in paragraph 112 of

Plaintiffs’ Complaint.

                                    113.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 113 of

Plaintiffs’ Complaint.

                                    114.

      These Defendants are without knowledge or information sufficient to
                                Page 25 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 26 of 85




form a belief as to the truth of the allegations set forth in paragraph 114 of

Plaintiffs’ Complaint.

                                    115.

      These Defendants admit the allegations set forth in paragraph 115 of

Plaintiffs’ Complaint.

                                    116.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 116 of

Plaintiffs’ Complaint.

                                    117.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 117 of

Plaintiffs’ Complaint.

                                    118.

      These Defendants admit the allegations set forth in paragraph 118 of

Plaintiffs’ Complaint.

                                    119.

      These Defendants admit the allegations set forth in paragraph 119 of

Plaintiffs’ Complaint with the exception that the composition of the Macon-

Bibb County Board of Elections has changed.
                                Page 26 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 27 of 85




                                    120.

      These Defendants admit the allegations set forth in paragraph 120 of

Plaintiffs’ Complaint.

                                    121.

      These Defendants deny the allegations forth in paragraph 121 of

Plaintiffs’ Complaint.   Answering further, the duties and responsibilities

related to voter registration in Macon-Bibb County fall to the Macon-Bibb

County Board of Elections.

                                    122.

      These Defendants admit the allegations set forth in paragraph 122 of

Plaintiffs’ Complaint.

                                    123.

      These Defendants admit the allegations set forth in paragraph 123 of

Plaintiffs’ Complaint.

                                    124.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 124 of

Plaintiffs’ Complaint.

                                    125.

      These Defendants are without knowledge or information sufficient to
                                Page 27 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 28 of 85




form a belief as to the truth of the allegations set forth in paragraph 125 of

Plaintiffs’ Complaint.

                                    126.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 126 of

Plaintiffs’ Complaint.

                                    127.

      These Defendants admit the allegations set forth in paragraph 127 of

Plaintiffs’ Complaint.

                                    128.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 128 of

Plaintiffs’ Complaint.

                                    129.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 129 of

Plaintiffs’ Complaint.

                                    130.

      These Defendants admit the allegations set forth in paragraph 130 of

Plaintiffs’ Complaint.
                                Page 28 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 29 of 85




                                    131.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 131 of

Plaintiffs’ Complaint.

                                    132.

      These Defendants admit the allegations set forth in paragraph 132 of

Plaintiffs’ Complaint.

                                    133.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 133 of

Plaintiffs’ Complaint.

                         JURISDICTION AND VENUE

                                    134.

      These Defendants admit the allegations set forth in paragraph 134 of

Plaintiffs’ Complaint.

                                    135.

      These Defendants admit the allegations set forth in paragraph 135 of

Plaintiffs’ Complaint.

                                    136.

      These Defendants admit the allegations set forth in paragraph 136 of
                                Page 29 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 30 of 85




Plaintiffs’ Complaint.

                                        137.

      These Defendants admit the allegations set forth in paragraph 137 of

Plaintiffs’ Complaint.

                                        138.

      These Defendants admit the allegations set forth in paragraph 138 of

Plaintiffs’ Complaint.

                         FACTUAL ALLEGATIONS

      A.    Georgia has a long history and ongoing record of racial

            discrimination in voting.


                                        139.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 139 of

Plaintiffs’ Complaint.

                                        140.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 140 of

Plaintiffs’ Complaint.

                                        141.


                                Page 30 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 31 of 85




      These Defendants admit the allegations set forth in paragraph 141 of

Plaintiffs’ Complaint.

                                    142.

      These Defendants admit the allegations set forth in paragraph 142 of

Plaintiffs’ Complaint.

                                    143.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 143 of

Plaintiffs’ Complaint.

                                    144.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 144 of

Plaintiffs’ Complaint.

                                    145.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 145 of

Plaintiffs’ Complaint.

                                    146.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 146 of
                                Page 31 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 32 of 85




Plaintiffs’ Complaint.

                                    147.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 147 of

Plaintiffs’ Complaint.

                                    148.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 148 of

Plaintiffs’ Complaint.

                                    149.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 149 of

Plaintiffs’ Complaint.

                                    150.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 150 of

Plaintiffs’ Complaint.

                                    151.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 151 of
                                Page 32 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 33 of 85




Plaintiffs’ Complaint.

                                    152.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 152 of

Plaintiffs’ Complaint.

                                    153.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 153 of

Plaintiffs’ Complaint.

                                    154.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 154 of

Plaintiffs’ Complaint.

                                    155.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 155 of

Plaintiffs’ Complaint.

                                    156.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 156 of
                                Page 33 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 34 of 85




Plaintiffs’ Complaint.

                                    158.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 158 of

Plaintiffs’ Complaint.

                                    159.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 159 of

Plaintiffs’ Complaint.

                                    160.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 160 of

Plaintiffs’ Complaint.

                                    161.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 161 of

Plaintiffs’ Complaint.

                                    162.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 162 of
                                Page 34 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 35 of 85




Plaintiffs’ Complaint.

                                    163.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 163 of

Plaintiffs’ Complaint.

                                    164.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 164 of

Plaintiffs’ Complaint.

                                    165.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 165 of

Plaintiffs’ Complaint.

                                    166.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 166 of

Plaintiffs’ Complaint.

                                    167.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 167 of
                                Page 35 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 36 of 85




Plaintiffs’ Complaint.

                                    168.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 168 of

Plaintiffs’ Complaint.

                                    169.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 169 of

Plaintiffs’ Complaint.

                                    170.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 170 of

Plaintiffs’ Complaint.

                                    171.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 171 of

Plaintiffs’ Complaint.

                                    172.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 172 of
                                Page 36 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 37 of 85




Plaintiffs’ Complaint.

                                    173.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 173 of

Plaintiffs’ Complaint.

                                    174.

      These Defendants deny the allegations set forth in paragraph 174 of

Plaintiffs’ Complaint.

                                    175.

      These Defendants deny the allegations set forth in paragraph 175 of

Plaintiffs’ Complaint.

                                    176.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 176 of

Plaintiffs’ Complaint.

                                    177.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 177 of

Plaintiffs’ Complaint.

                                    178.
                                Page 37 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 38 of 85




      These Defendants deny the allegations set forth in paragraph 178 of

Plaintiffs’ Complaint.

                                    179.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 179 of

Plaintiffs’ Complaint.

                                    180.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 180 of

Plaintiffs’ Complaint.

                                    181.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 181 of

Plaintiffs’ Complaint.

      B.    Georgians with disabilities have also experienced historical and

            widespread discrimination.


                                    182.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 182 of


                                Page 38 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 39 of 85




Plaintiffs’ Complaint.

                                    183.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 183 of

Plaintiffs’ Complaint.

                                    184.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 184 of

Plaintiffs’ Complaint.

                                    185.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 185 of

Plaintiffs’ Complaint.

                                    186.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 186 of

Plaintiffs’ Complaint.

                                    187.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 187 of
                                Page 39 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 40 of 85




Plaintiffs’ Complaint.

                                    188.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 188 of

Plaintiffs’ Complaint.

                                    189.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 189 of

Plaintiffs’ Complaint.

                                    190.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 190 of

Plaintiffs’ Complaint.

                                    191.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 191 of

Plaintiffs’ Complaint.

                                    192.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 192 of
                                Page 40 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 41 of 85




Plaintiffs’ Complaint.

                                    193.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 193 of

Plaintiffs’ Complaint.

      C.    Georgia has an increasing number of voters of color.

                                    194.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 194 of

Plaintiffs’ Complaint.

                                    195.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 195 of

Plaintiffs’ Complaint.

                                    196.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 196 of

Plaintiffs’ Complaint.

                                    197.

      These Defendants are without knowledge or information sufficient to
                                Page 41 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 42 of 85




form a belief as to the truth of the allegations set forth in paragraph 197 of

Plaintiffs’ Complaint.

                                    198.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 198 of

Plaintiffs’ Complaint.

                                    199.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 199 of

Plaintiffs’ Complaint.

                                    200.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 200 of

Plaintiffs’ Complaint.

                                    201.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 201 of

Plaintiffs’ Complaint.

                                    202.

      These Defendants are without knowledge or information sufficient to
                                Page 42 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 43 of 85




form a belief as to the truth of the allegations set forth in paragraph 202 of

Plaintiffs’ Complaint.

                                    203.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 203 of

Plaintiffs’ Complaint.

                                    204.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 204 of

Plaintiffs’ Complaint.

                                    205.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 205 of

Plaintiffs’ Complaint.

                                    206.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 206 of

Plaintiffs’ Complaint.

      D.    Black voter participation reached historic levels in the 2020

            primary election, General Election, and the Runoff Elections.
                                Page 43 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 44 of 85




                                    207.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 207 of

Plaintiffs’ Complaint.

                                    208.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 208 of

Plaintiffs’ Complaint.

                                    209.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 209 of

Plaintiffs’ Complaint.

                                    210.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 210 of

Plaintiffs’ Complaint.

                                    211.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 211 of

Plaintiffs’ Complaint.
                                Page 44 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 45 of 85




                                    212.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 212 of

Plaintiffs’ Complaint.

                                    213.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 213 of

Plaintiffs’ Complaint.

                                    214.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 214 of

Plaintiffs’ Complaint.

                                    215.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 215 of

Plaintiffs’ Complaint.

                                    216.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 216 of

Plaintiffs’ Complaint.
                                Page 45 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 46 of 85




                                     217.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 217 of

Plaintiffs’ Complaint.

                                     218.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 218 of

Plaintiffs’ Complaint.

      E.    The Georgia General Assembly passed S.B. 202 immediately

            following historic black voter participation in the General Election

            and Runoff Elections, in a flawed and nontransparent process.

                                     219.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 219 of

Plaintiffs’ Complaint.

            1.    S.B. 202 was passed in a hostile, racially charged

                  environment following the General Election and Runoff

                  Elections.

                                     220.

      These Defendants are without knowledge or information sufficient to
                                Page 46 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 47 of 85




form a belief as to the truth of the allegations set forth in paragraph 220 of

Plaintiffs’ Complaint.

                                    221.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 221 of

Plaintiffs’ Complaint.

                                    222.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 222 of

Plaintiffs’ Complaint.

                                    223.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 223 of

Plaintiffs’ Complaint.

                                    224.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 224 of

Plaintiffs’ Complaint.

                                    225.

      These Defendants are without knowledge or information sufficient to
                                Page 47 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 48 of 85




form a belief as to the truth of the allegations set forth in paragraph 225 of

Plaintiffs’ Complaint.

                                     226.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 226 of

Plaintiffs’ Complaint.

                                     227.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 2217 of

Plaintiffs’ Complaint.

                                     228.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 228 of

Plaintiffs’ Complaint.

            2.    The Georgia General Assembly passed S.B. 202 with little

                  process or regard for the ideals of an open democracy.

                                     229.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 229 of

Plaintiffs’ Complaint.
                                Page 48 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 49 of 85




                                    230.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 230 of

Plaintiffs’ Complaint.

                                    231.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 231 of

Plaintiffs’ Complaint.

                                    232.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 232 of

Plaintiffs’ Complaint.

                                    233.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 233 of

Plaintiffs’ Complaint.

                                    234.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 234 of
                                Page 49 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 50 of 85




Plaintiffs’ Complaint.

                                    235.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 235 of

Plaintiffs’ Complaint.

                                    236.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 236 of

Plaintiffs’ Complaint.

                                    237.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 237

Plaintiffs’ Complaint.

                                    238.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 238 of

Plaintiffs’ Complaint.

                                    239.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 210 of
                                Page 50 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 51 of 85




Plaintiffs’ Complaint.

                                    240.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 240 of

Plaintiffs’ Complaint.

                                    241.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 241 of

Plaintiffs’ Complaint.

                                    242.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 242 of

Plaintiffs’ Complaint.

                                    243.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 243 of

Plaintiffs’ Complaint.

                                    244.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 244 of
                                Page 51 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 52 of 85




Plaintiffs’ Complaint.

                                      245.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 245 of

Plaintiffs’ Complaint.

      F.    The challenged provisions of S.B. 202 place limitations on

            opportunities for voters to exercise their right to vote.

            1.    Sections 20 & 26, mobile voting restrictions.

                                      246.

      These Defendants admit that Georgia law speaks for itself.        These

Defendants deny the balance of the allegations set forth in paragraph 246 of

Plaintiffs’ Complaint.

                                      247.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 247 of

Plaintiffs’ Complaint.

                                      248.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 248 of

Plaintiffs’ Complaint.
                                 Page 52 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 53 of 85




            2.    Section   25,   new    identification   requirements,   timing

                  parameters, and wet signature requirements for requesting

                  an absentee ballot

                                       249.

      These Defendants admit that Georgia law speaks for itself.          These

Defendants deny the balance of the allegations set forth in paragraph 249 of

Plaintiffs’ Complaint.

                                       250.

      These Defendants admit that Georgia law speaks for itself.          These

Defendants deny the balance of the allegations set forth in paragraph 250 of

Plaintiffs’ Complaint.

                                       251.

      These Defendants admit that Georgia law speaks for itself.          These

Defendants deny the balance of the allegations set forth in paragraph 251 of

Plaintiffs’ Complaint.

                                       252.

      These Defendants admit that Georgia law speaks for itself.          These

Defendants deny the balance of the allegations set forth in paragraph 252 of

Plaintiffs’ Complaint.



                                  Page 53 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 54 of 85




                                     253.

      These Defendants admit that Georgia law speaks for itself.        These

Defendants deny the balance of the allegations set forth in paragraph 253 of

Plaintiffs’ Complaint.

                                     254.

      These Defendants admit that Georgia law speaks for itself.        These

Defendants deny the balance of the allegations set forth in paragraph 254 of

Plaintiffs’ Complaint.

            3.    Sections 27 & 28, new identification requirements for

                  casting an absentee ballot.

                                     255.

      These Defendants admit that Georgia law speaks for itself.        These

Defendants deny the balance of the allegations set forth in paragraph 255 of

Plaintiffs’ Complaint.

                                     256.

      These Defendants admit that Georgia law speaks for itself.        These

Defendants deny the balance of the allegations set forth in paragraph 256 of

Plaintiffs’ Complaint.

                                     257.

      These Defendants admit that Georgia law speaks for itself.        These
                                Page 54 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 55 of 85




Defendants deny the balance of the allegations set forth in paragraph 257 of

Plaintiffs’ Complaint.

                                     258.

      These Defendants admit that Georgia law speaks for itself.        These

Defendants deny the balance of the allegations set forth in paragraph 258 of

Plaintiffs’ Complaint.

                                     259.

      These Defendants admit that Georgia law speaks for itself.        These

Defendants deny the balance of the allegations set forth in paragraph 259 of

Plaintiffs’ Complaint.

            4.    Section 26, secure drop box limitations.

                                     260.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 260 of

Plaintiffs’ Complaint.

                                     261.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 261 of

Plaintiffs’ Complaint.



                                Page 55 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 56 of 85




                                    262.

      These Defendants admit the allegations set forth in paragraph 262 of

Plaintiffs’ Complaint.

                                    263.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 263 of

Plaintiffs’ Complaint.

                                    264.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 264 of

Plaintiffs’ Complaint.

                                    265.

      These Defendants admit that Georgia law speaks for itself.        These

Defendants deny the balance of the allegations set forth in paragraph 265 of

Plaintiffs’ Complaint.

                                    266.

      These Defendants admit that Georgia law speaks for itself.        These

Defendants deny the balance of the allegations set forth in paragraph 266 of

Plaintiffs’ Complaint.



                                Page 56 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 57 of 85




                                     267.

      These Defendants admit that Georgia law speaks for itself.        These

Defendants deny the balance of the allegations set forth in paragraph 267 of

Plaintiffs’ Complaint.

            5.    Section 28, runoff early voting restriction.

                                     268.

      These Defendants admit that Georgia law speaks for itself.        These

Defendants deny the balance of the allegations set forth in paragraph 268 of

Plaintiffs’ Complaint.

            6.    Section 33, Line Relief Ban.

                                     269.

      These Defendants admit that Georgia law speaks for itself.        These

Defendants deny the balance of the allegations set forth in paragraph 269 of

Plaintiffs’ Complaint.

                                     270.

      These Defendants admit that Georgia law speaks for itself.        These

Defendants deny the balance of the allegations set forth in paragraph 270 of

Plaintiffs’ Complaint.




                                 Page 57 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 58 of 85




            7.    Sections 34 & 35, out-of-precinct provisional ballot.

                                     271.

      These Defendants admit that Georgia law speaks for itself.          These

Defendants deny the balance of the allegations set forth in paragraph 271 of

Plaintiffs’ Complaint.

                                     272.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 272 of

Plaintiffs’ Complaint.

                                     273.

      These Defendants admit that Georgia law speaks for itself.          These

Defendants deny the balance of the allegations set forth in paragraph 273 of

Plaintiffs’ Complaint.

            8.    Section 47, felony punishment for acceptance of an absentee

                  ballot for delivery or return if not a family member or

                  caregiver.

                                     274.

      These Defendants admit that Georgia law speaks for itself.          These

Defendants deny the balance of the allegations set forth in paragraph 274 of

Plaintiffs’ Complaint.
                                Page 58 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 59 of 85




      G.    S.B. 202 severely burdens all voters, and discriminates against

            Black voters, other voters of color, disabled voters, and other

            historically disenfranchised communities, in particular.

                                     275.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 275 of

Plaintiffs’ Complaint.

                                     276.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 276 of

Plaintiffs’ Complaint.

            1.    Elimination of mobile voting units.

                                     277.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 277 of

Plaintiffs’ Complaint.

            2.    Additional requirements for absentee voting.

                                     278.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 278 of
                                Page 59 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 60 of 85




Plaintiffs’ Complaint.

                                    279.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 279 of

Plaintiffs’ Complaint.

                                    280.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 280 of

Plaintiffs’ Complaint.

                                    281.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 281 of

Plaintiffs’ Complaint.

                                    282.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 282 of

Plaintiffs’ Complaint.

                                    283.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 283 of
                                Page 60 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 61 of 85




Plaintiffs’ Complaint.

                                     284.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 284 of

Plaintiffs’ Complaint.

                                     285.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 285 of

Plaintiffs’ Complaint.

            3.    Restrictions on distribution of absentee ballots.

                                     286.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 286 of

Plaintiffs’ Complaint.

                                     287.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 287 of

Plaintiffs’ Complaint.




                                Page 61 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 62 of 85




            4.    Restrictions on drop boxes

                                     288.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 288 of

Plaintiffs’ Complaint.

                                     289.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 289 of

Plaintiffs’ Complaint.

                                     290.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 290 of

Plaintiffs’ Complaint.

            5.    Prohibiting provisional ballots cast in the wrong precinct.

                                     291.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 291 of

Plaintiffs’ Complaint.

                                     292.

      These Defendants are without knowledge or information sufficient to
                                Page 62 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 63 of 85




form a belief as to the truth of the allegations set forth in paragraph 292 of

Plaintiffs’ Complaint.

                                     293.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 293 of

Plaintiffs’ Complaint.

            6.    The early voting runoff restrictions

                                     294.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 294 of

Plaintiffs’ Complaint.

                                     295.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 295 of

Plaintiffs’ Complaint.

            7.    The Line Relief Ban.

                                     296.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 296 of

Plaintiffs’ Complaint.
                                Page 63 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 64 of 85




                                        297.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 297 of

Plaintiffs’ Complaint.

                                        298.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 298 of

Plaintiffs’ Complaint.

            8.    Criminalizing the acceptance of an absentee ballot for

                  delivery or return.

                                        299.

      These Defendants admit that Georgia law speaks for itself.        These

Defendants deny the balance of the allegations set forth in paragraph 299 of

Plaintiffs’ Complaint.

                                        300.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 300 of

Plaintiffs’ Complaint.

                                        301.

      These Defendants are without knowledge or information sufficient to
                                Page 64 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 65 of 85




form a belief as to the truth of the allegations set forth in paragraph 301 of

Plaintiffs’ Complaint.

            9.    The cumulative effects of the challenged provisions.

                                    302.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 302 of

Plaintiffs’ Complaint.

                                    303.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 303 of

Plaintiffs’ Complaint.

                                    304.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 304 of

Plaintiffs’ Complaint.

                                    305.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 305 of

Plaintiffs’ Complaint.



                                Page 65 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 66 of 85




                                    306.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 306 of

Plaintiffs’ Complaint.

                                    307.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 307 of

Plaintiffs’ Complaint.

                                    308.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 308 of

Plaintiffs’ Complaint.

                                    309.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 309 of

Plaintiffs’ Complaint.

                                    310.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 310 of

Plaintiffs’ Complaint.
                                Page 66 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 67 of 85




                                    311.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 311 of

Plaintiffs’ Complaint.

                                    312.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 312 of

Plaintiffs’ Complaint.

                                    313.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 313 of

Plaintiffs’ Complaint.

                                    314.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 314 of

Plaintiffs’ Complaint.

                                    315.

      These Defendants admit that Georgia law speaks for itself.        These

Defendants deny the balance of the allegations set forth in paragraph 315 of

Plaintiffs’ Complaint.
                                Page 67 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 68 of 85




                                    316.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 316 of

Plaintiffs’ Complaint.

                                    317.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 317 of

Plaintiffs’ Complaint.

                                    318.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 318 of

Plaintiffs’ Complaint.

                                    319.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 319 of

Plaintiffs’ Complaint.




                                Page 68 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 69 of 85




            10.   S.B. 202’s provisions deny qualified individuals with

                  disabilities an equal opportunity to participate in and

                  benefit from voting.

                                     320.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 320 of

Plaintiffs’ Complaint.

                                     321.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 321 of

Plaintiffs’ Complaint.

                                     322.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 322 of

Plaintiffs’ Complaint.

                                     323.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 314 of

Plaintiffs’ Complaint.



                                Page 69 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 70 of 85




            11.   The disparate burdens and barriers imposed by individual

                  provisions of S.B. 202 and the combined effect of the

                  provisions will exponentially harm voters with multiple

                  and/or intersecting race and disability identities.

                                     324.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 324 of

Plaintiffs’ Complaint.

                                     325.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 325 of

Plaintiffs’ Complaint.

                                     326.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 326 of

Plaintiffs’ Complaint.

                                     327.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 327 of

Plaintiffs’ Complaint.
                                Page 70 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 71 of 85




                                     328.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 328 of

Plaintiffs’ Complaint.

                         FIRST CLAIM FOR RELIEF

                Violation of Section 2 of the Voting Rights Act

                          52 U.S.C. § 10301 et seq.

         (Intentional Racial Discrimination & Discriminatory Rules)

                                     329.

      These Defendants incorporate their responses to all prior paragraphs as

though fully restated herein.

                                     330.

      These Defendants admit that federal law speaks for itself.        These

Defendants deny the balance of the allegations set forth in paragraph 330 of

Plaintiffs’ Complaint.

                                     331.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 331 of

Plaintiffs’ Complaint.



                                Page 71 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 72 of 85




                                       332.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 332 of

Plaintiffs’ Complaint.

                                       333.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 333 of

Plaintiffs’ Complaint.

                         SECOND CLAIM FOR RELIEF

                   Fourteenth and Fifteenth Amendments

                    U.S. Const. amend., 42 U.S.C. § 1983

                         (Intentional Race Discrimination)

                                       334.

      These Defendants incorporate their responses to all prior paragraphs as

though fully restated herein.

                                       335.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 333 of

Plaintiffs’ Complaint.



                                   Page 72 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 73 of 85




                                    336.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 336 of

Plaintiffs’ Complaint.

                                    337.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 337 of

Plaintiffs’ Complaint.

                         THIRD CLAIM FOR RELIEF

                     First and Fourteenth Amendments

                  U.S. Const. amend. XIV; 42 U.S.C. § 1983

                    (Undue Burden on the Right to Vote)

                                    338.

      These Defendants incorporate their responses to all prior paragraphs as

though fully restated herein.

                                    339.

      These Defendants admit that the law speaks for itself.            These

Defendants deny the balance of the allegations set forth in paragraph 339 of

Plaintiffs’ Complaint.



                                Page 73 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 74 of 85




                                     340.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 340 of

Plaintiffs’ Complaint.

                                     341.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 341 of

Plaintiffs’ Complaint.

                         FOURTH CLAIM FOR RELIEF

                         Freedom of Speech/Expression

                    U.S. Const. amend. I; 42 U.S.C. § 1983

                                     342.

      These Defendants incorporate their responses to all prior paragraphs as

though fully restated herein.

                                     343.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 343 of

Plaintiffs’ Complaint.

                                     344.

      These Defendants are without knowledge or information sufficient to
                                Page 74 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 75 of 85




form a belief as to the truth of the allegations set forth in paragraph 344 of

Plaintiffs’ Complaint.

                                    345.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 345 of

Plaintiffs’ Complaint.

                                    346.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 346 of

Plaintiffs’ Complaint.

                                    347.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 347 of

Plaintiffs’ Complaint.

                                    348.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 348 of

Plaintiffs’ Complaint.




                                Page 75 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 76 of 85




                         FIFTH CLAIM FOR RELIEF

                Title II of the Americans with Disabilities Act

                          42 U.S.C. § 12131, et seq.

  (Discrimination on the Basis of Disability by State and Local Government

                                   Entities)

                                     349.

      These Defendants incorporate their responses to all prior paragraphs as

though fully restated herein.

                                     350.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 350 of

Plaintiffs’ Complaint.

                                     351.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 351 of

Plaintiffs’ Complaint.

                                     352.

      These Defendants admit that federal law speaks for itself.        These

Defendants deny the balance of the allegations set forth in paragraph 352 of

Plaintiffs’ Complaint.
                                Page 76 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 77 of 85




                                    353.

      These Defendants admit that federal law speaks for itself.        These

Defendants deny the balance of the allegations set forth in paragraph 353 of

Plaintiffs’ Complaint.

                                    354.

      These Defendants admit that federal law speaks for itself.        These

Defendants deny the balance of the allegations set forth in paragraph 354 of

Plaintiffs’ Complaint.

                                    355.

      These Defendants admit that federal law speaks for itself.        These

Defendants deny the balance of the allegations set forth in paragraph 355 of

Plaintiffs’ Complaint.

                                    356.

      These Defendants admit that federal law speaks for itself.        These

Defendants deny the balance of the allegations set forth in paragraph 356 of

Plaintiffs’ Complaint.

                                    357.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 357 of

Plaintiffs’ Complaint.
                                Page 77 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 78 of 85




                                     358.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 358 of

Plaintiffs’ Complaint.

                                     359.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 359 of

Plaintiffs’ Complaint.

                                     360.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 360 of

Plaintiffs’ Complaint.

                         SIXTH CLAIM FOR RELIEF

                     Section 504 of the Rehabilitation Act

                                29 U.S.C. § 794

(Discrimination on the Basis of Disability by Recipients of Federal Financial

                                 Assistance)

                                     361.

      These Defendants incorporate their responses to all prior paragraphs as

though fully restated herein.
                                 Page 78 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 79 of 85




                                    362.

      These Defendants admit that federal law speaks for itself.        These

Defendants deny the balance of the allegations set forth in paragraph 362 of

Plaintiffs’ Complaint.

                                    363.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 363 of

Plaintiffs’ Complaint.

                                    364.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 364 of

Plaintiffs’ Complaint.

                                    365.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 365 of

Plaintiffs’ Complaint.

                                    366.

      These Defendants admit that federal law speaks for itself.        These

Defendants deny the balance of the allegations set forth in paragraph 366 of

Plaintiffs’ Complaint.
                                Page 79 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 80 of 85




                                    367.

      These Defendants admit that federal law speaks for itself.        These

Defendants deny the balance of the allegations set forth in paragraph 367 of

Plaintiffs’ Complaint.

                                    368.

      These Defendants admit that federal law speaks for itself.        These

Defendants deny the balance of the allegations set forth in paragraph 368 of

Plaintiffs’ Complaint.

                                    369.

      These Defendants admit that federal law speaks for itself.        These

Defendants deny the balance of the allegations set forth in paragraph 369 of

Plaintiffs’ Complaint.

                                    370.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 370 of

Plaintiffs’ Complaint.

                                    371.

      These Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations set forth in paragraph 371 of

Plaintiffs’ Complaint.
                                Page 80 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 81 of 85




                         SEVENTH CLAIM FOR RELIEF

                   Violation of the Civil Rights Act of 1964

                     52 U.S.C. § 10101, 42 U.S.C. § 1983

                                     372.

      These Defendants incorporate their responses to all prior paragraphs as

though fully restated herein.

                                     373.

      These Defendants admit that Georgia law speaks for itself.        These

Defendants deny the balance of the allegations set forth in paragraph 373 of

Plaintiffs’ Complaint.

                                     374.

      These Defendants admit that Georgia law speaks for itself.        These

Defendants deny the balance of the allegations set forth in paragraph 374 of

Plaintiffs’ Complaint.

                                     375.

      These Defendants admit that federal law speaks for itself.        These

Defendants deny the balance of the allegations set forth in paragraph 375 of

Plaintiffs’ Complaint.

                                     376.

      These Defendants are without knowledge or information sufficient to
                                Page 81 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 82 of 85




form a belief as to the truth of the allegations set forth in paragraph 376 of

Plaintiffs’ Complaint.

                                GENERAL DENIAL

      These Defendants generally deny each and every allegation set forth in

Plaintiffs’ Complaint with the sole exception of those allegations which are

specifically admitted herein.

                                FIRST DEFENSE

      Plaintiffs lack standing to bring all or a portion of their claims against

the these Defendants.

                                SECOND DEFENSE

      Plaintiffs have failed to state a claim upon which relief may be granted

against the these Defendants.

                                THIRD DEFENSE

      These Defendants were not responsible for the drafting or enactment of

S.B. 202 and do not have discretion over whether to comply with validly passed

state election laws. These Defendants show that they will abide by any order

of this Court regarding the constitutionality of S.B. 202 or injunctive relief

granted as to the enforcement of its provisions and would have done so without

being named as defendants in this litigation.



                                  Page 82 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 83 of 85




     WHEREFORE, these Defendants pray:

     (a)   that Plaintiffs’ Complaint be dismissed;

     (b)   that all costs be taxed against Plaintiffs;

     (c)   that these Defendants have a judgment in their favor;

     (d)   that these Defendants have a trial by jury;

     (e)   that the prayers of Plaintiffs be denied; and

     (f)   that these Defendants have such other and further relief as may

           be deemed equitable and just.

     This 21st day of January, 2022.

                                           /s/ William H. Noland
                                           WILLIAM H. NOLAND
                                           Georgia Bar No. 545605
                                           william@nolandlawfirmllc.com
                                           GRACE SIMMS MARTIN
                                           Georgia Bar No. 279182
                                           grace@nolandlawfirmllc.com
NOLAND LAW FIRM, LLC
5400 Riverside Drive, Suite 205
Macon, Georgia 31210
(478)621-4980 telephone
(478)621-4282 facsimile


Counsel for Defendants Macon-Bibb County Board of Elections; Mike Kaplan,
Herbert Spangler, Joel Hazard; Karen Evans-Daniel, and Darius Maynard,
Members of the Macon-Bibb County Board of Elections, in their official
capacities; Jeanetta R. Watson, Macon-Bibb County Elections Supervisor, in
her official capacity; and Veronica Seals, Macon-Bibb County Chief Registrar,
in her official capacity


                                  Page 83 of 85
      Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 84 of 85




                    CERTIFICATE OF COMPLIANCE

     I hereby certify that the foregoing has been prepared in accordance with

the font type and margin requirements ser forth in Local Rule 5.1, using

Century Schoolbook font and 13-point type.

     This 21st day of January, 2022.



                                           /s/ William H. Noland
                                           WILLIAM H. NOLAND
                                           Georgia Bar No. 545605
                                           william@nolandlawfirmllc.com
                                           GRACE SIMMS MARTIN
                                           Georgia Bar No. 279182
                                           grace@nolandlawfirmllc.com
NOLAND LAW FIRM, LLC
5400 Riverside Drive, Suite 205
Macon, Georgia 31210
(478)621-4980 telephone
(478)621-4282 facsimile




                                  Page 84 of 85
       Case 1:21-mi-55555-JPB Document 49 Filed 01/21/22 Page 85 of 85




                         CERTIFICATE OF SERVICE

      I hereby certify that I have filed the foregoing using the CM/ECF system,

which will send a notice of electronic filing to all counsel of record.

      This 21st day of January, 2022.



                                             /s/ William H. Noland
                                             WILLIAM H. NOLAND
                                             Georgia Bar No. 545605
                                             william@nolandlawfirmllc.com
                                             GRACE SIMMS MARTIN
                                             Georgia Bar No. 279182
                                             grace@nolandlawfirmllc.com
NOLAND LAW FIRM, LLC
5400 Riverside Drive, Suite 205
Macon, Georgia 31210
(478)621-4980 telephone
(478)621-4282 facsimile




                                  Page 85 of 85
